
441 S.E.2d 116 (1994)
335 N.C. 556
Sallie Mae LATHAM
v.
Reatha CHERRY.
No. 474P93.
Supreme Court of North Carolina.
January 27, 1994.
Willis A. Talton, for Latham.
Mark R. Morano, for Cherry.
Prior report: 111 N.C.App. 871, 433 S.E.2d 478.

ORDER
Upon consideration of the petition filed by Plaintiff in this matter for a writ of certiorari to review the decision of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 27th day of January 1994."
